                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            DOCKET NO. 3:00-cr-00169-W
 UNITED STATES OF AMERICA,                           )
                                                     )
                 Plaintiff,                          )
                                                     )
           vs.                                       )                   ORDER
                                                     )
 GREGORY FISHER BUTLER,                              )
                                                     )
                 Defendant.                          )
                                                     )

          THE MATTER is before the Court on Defendant's Motion to Unseal Documents (Doc. No.
149). Defendant requests the Court unseal documents number 102, 104, and 117. The Court finds
sufficient reason to grant Defendant's motion, and that the Government has submitted no objection
to the motion. The Court further finds that the need for secrecy in these three documents is no longer
necessary. Two of the documents were filed by Defendant and sealed at his request. The third
document is an order ruling on one of Defendant’s sealed motions. Accordingly, all three documents
were sealed for Defendant’s benefit. In making the motion, Defendant is implicitly waiving the
protection he once sought in requesting the documents to be sealed. Defendant’s motion is,
therefore, GRANTED.
          IT IS HEREBY ORDERED that the Defendant’s Motion to Unseal (Doc. No. 149) is
GRANTED. The Clerk is DIRECTED TO UNSEAL documents numbered 102, 104, and 117 in this
matter.
          IT IS SO ORDERED.




                                                    Signed: October 31, 2007




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